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 EXHIBIT E
                   (Redacted)
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                                          U.S. Department of Justice

                                                      Special Counsel’s Office




                                                     November 3, 2023

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       Re:      United States v. Donald J. Trump, Case No. 23-cr-257 (TSC)

Dear Counsel:

       We write in response to your discovery letter dated October 23, 2023, in which you make
79 “discrete requests” for discovery.

         As an initial matter, we previously rejected the definition of “prosecution team” you
attempted to impose in your October 15 discovery letter. Please see our October 24 discovery
letter for more information.

        The vast majority of the expansive requests in your October 23 letter are deficient. Many
of your requests seek information that exceeds the scope of the Government’s discovery
obligations and/or is not within the possession of the prosecution team. Other requests seek
information that already has been produced, as reflected in the detailed Source Logs accompanying
each of our productions and as would be evident from keyword searches of those productions.
Some requests are too vague for us to discern with particularity what you are requesting. Still
other requests follow up on documents that we produced in excess of our discovery obligations.
To the extent that we produce or have produced information that is responsive to your discovery
requests, that production does not imply that we concede the information’s discoverability or
obligate us to make any additional productions that exceed our existing discovery obligations.

        Notwithstanding the above, to the extent that the following requests call for information
that is discoverable and in the possession of the prosecution team, we have produced that
information already or will produce it consistent with the Court’s scheduling order: Requests 1-7,
8a, 8c-8L, 9-13, 15-18, 21, 22, 24-27, 29, 32a, 34-36, 37a, 37b, 38, 39, 41, 43, 45, 46a, 46b, 47,
and 49-53.

       Furthermore, we seek additional information in an effort to better understand some of your
requests. In particular, the following requests do not appear to call for the production of material
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we were aware that loading an item into a review platform might alter the item’s content, we
provided that item in native format. If you have a question as to whether a particular document
was “edited or altered from their original content or format,” please identify the Bates number for
that document so that we may further consider your request.

        58.     The Government has proceeded consistently with the provisions of the Justice
Manual. In any event, the Justice Manual does not create rights for criminal defendants. See
Justice Manual § 1-1.200 (“The Justice Manual provides internal DOJ guidance. It is not intended
to, does not, and may not be relied upon to create any rights, substantive or procedural, enforceable
at law by any party in any matter civil or criminal.”).

       59.     We understand our discovery obligations and will comply with them.

       We stand ready to confer with you or answer further questions. Please do not hesitate to
contact us.

                                                      Respectfully,

                                                      JACK L. SMITH
                                                      Special Counsel

                                                      /s/ Thomas P. Windom
                                                      Thomas P. Windom
                                                      Molly Gaston
                                                      Senior Assistant Special Counsels




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